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UN|TED STATES BANKRUPTCY COURT
EASTERN DISTRlCT OF CALlFORNlA

 

 

 

UNITED STATES¢BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFOR_NIA

FRESNO DIVISION
In re t Case No. 04-60523-B-11
Kings River Resoits, Inc., j DC No. DRJ-5
Dc No. MMQ-i

Debtor.

 

MEMORANDUM DECISION REGARDING OBJECTION TO
PRIORITY CLAIM OF JEFF MISHKIN AND COUNTER-MOTION TO
ALLOW ADMINISTRATIVE CLAIM OF MARCUS & MILLICHAP, INC.
David R. Jenkins, Esq., appeared for Kings River Resorts, Inc. (the “Debtor”).

Maureen Mc uaid, Esq., of the I__,aw Offices of Maureen McQuaid appeared for Marcus
& Millichap, nc. (“Marcus & Millichap”).

Michael T. Heltz, ES ., of Lang, Richert & Patch appeared for the Of`ficial Comniittee of
Unsecured Creditors “Creditors Comniittee”).

The Debtor objects to a proof of claim filed by Jef`f` Mishkin on behalf of` Marcus
& Millichap, as a priority claim in the amount of $125,000 (the “Mishl<in Claim”). The
Creditors Cornmittee joins the Debtor in objecting to the Mishkin Claim. Marcus &
Millichap subsequently filed its own Proof` of` Amended Administrative Expense Claim,
also in the amount of` $125,000 (the “Admin. Claim”). The Admin. Claim appears to
supercede and replace the Mishkin Claim; Marcus & Millichap responded to the
Debtor’s objection with a counter-motion to allow the Admin. Claim. The Debtor and
the Creditors Committee both oppose the counter-motion. The court deems the Mishl<in
Claim to be merged into the Admin. Claim and the court`s ruling below will apply to
both.

This Memorandum Decision contains findings of` f`act and conclusions of` law
required by Federal Rule of` Bankruptcy Frocedure 7052 and Federal Rule of Civil

Procedure 52. The bankruptcy court has jurisdiction over this matter pursuant to 28

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U.S.C. § 1334 and 11 U.S.C. §§ 328, 330 & 503.l This is a core proceeding pursuant to
28 U.S.C. § 157(b)(2)(A) & (B). For the reasons set forth below, approval of the Admin.
Claim will be denied without prejudice to Marcus & Millichap’s rights as a prepetition
unsecured creditor.
BACKGROUND.

The Debtor owns and operates a 27.7 acre mobile home and R.V. park known as

the Royal Oak Resort on the banks of the Kings River in Kingsburg, California (the

“Propeity”). The Debtor’s president is Alan Degenhardt (“Degenhardt”). In early 2004,
the Debtor was in serious financial trouble and its shareholders decided to sell the
Property through the services of Marcus & Millichap. On May 8, 2004, the Debtor
executed a Representation Agreement giving Marcus & Millichap exclusive authorization
to sell or exchange the Property (the “First Listing Agreement”).

The pertinent terms for sale under the First Listing Agreement contemplated a
selling price of $2.5 million with a $1 million cash payment and seller financing of $1 .5
million. Marcus & Millichap’s fee under the First Listing Agreement was to be 6% of the
selling price. The Debtor did not disclose to Marcus & Millichap that the Property was
subject to a delinquent mortgage in the approximate amount of $1 .6 million and that the
mortgage was in foreclosure 'Tliis condition effectively prohibited the Debtor from
performing the “seller-financed” term of sale set forth in the First Listing Agreement.
The Debtor kept this information concealed from Marcus & Millichap for five months.

Marcus & Millichap worked very hard to find a buyer for the Property. lt
prepared a market analysis, extensively advertised the Property, and distributed a
marketing package to more than 1,000 brokers nationwide Marcus & Millichap’s staff
invested hundreds of hours on the project and made several trips to Kingsburg to visit the

Property. Some offers were received for the Property, but the selling effort failed when it

 

lUrnless otherwise stated, all statutory references are to the Bankruptcy Code, 11
U.S.C. § 101, et seq., ap licable to cases filed before October 17_, 2005, the effective
date of the Bankruptcy buse Preventlon and Consumer Protection Act of 2005.

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became apparent that the Debtor would need to file bankruptcy to save the Property from

foreclosure The First Listing Agreement expired by its own terms on November 30,
2004.

The Debtor filed a voluntary chapter 7 petition on December 21, 2004. J ames E.
Salven was appointed as the chapter 7 trustee (the “Trustee”). It is not clear whether
Marcus & Millichap approached the Trustee about remarketing the Property, or whether
the Trustee initiated the discussion. Marcus & Millichap gave the Trustee a copy of the
marketing package it had previously prepared for the Property. On February 1, 2005, the
Trustee entered into another Representation Agreement giving Marcus & Millichap
exclusive authority to sell the Property (the “Second Listing Agreement”). The form of
the Second Listing Agreement was virtually identical to the First Listing Agreement
except the selling terms, which contemplated an all cash sale. Marcus & Millichap’s fee
under the Second Listing Agreement was to be 5% of the selling price.

On January 26, 2005, the Trustee submitted an Ex Parte Application to Employ
J eff Mishkin [sic] as Real Estate Broker seeking authority to employ Marcus & Millichap
under § 327 (the “Employment Application”). The Employment Application included a
statement from the Trustee that he had no knowledge of any prior connections between

the Debtor and Marcus & Millichap:

8. To the best of Trustee’S knowledge, Broker has had no prior business '
association and has no connections with himself, any creditors of Debtor or any
other parties in interest in this Chapter 7 case or thelr respective attorneys or
accountants, the United States Trustee, or an person employed in the office of the
United States Trustee Additz'onally, Broker las no connections with the Debtor.

9. To the best o_f Trustee’s knowledge Broker is a “disintere_sted person” herein as
defined in Sectlon 101§14) of the Bankruptcy Code, as requlred by § 327(a) of the

Bankruptcy Code and oes not hold or represent an interest adverse to the estate
(Emphasls added.)

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The Employnrent Application was supported by a declaration of Jeff Mishkin as
Regional Manager of Marcus & Millichap filed pursuant to Federal Rule of Bankruptcy
Procedure 2014(a)2 (the “Mishkin Declaration”). The Mishkin Declaration includes an
affirmative statement disavowing any prior relationship with the Debtor and declaring

Mishkin ’s “disinterestedness”:

3. To the best of rn knowledge, I have had no rior business association and no
connections with t re Debtor, any creditors of ebtor or any other parties in
interest in this Chapter 7 case or their res ective attorne s or accountants, the
United States Trustee, or any person emp oyed in the o fice of the United States
Trustee Additionally, I have no connections with the Trustee

5. To the best of m knowledge, I am a “disinterested person’_’ herein as defined in
Section 101(14) o the Bankru tc Code, as required by Sectron 327(a) of the
Bankruptcy Code and 1 do not o d or represent an interest adverse to the estate

6. I
a. am not a creditor . . . .

e. do not have an interest materially adverse to the interest of the estate or
of any class of creditors or equity security holders, by reason _of any
direct or indirect relationship to, connectron with, or interest rn, Debtor or
an investment banker, or for any other reason.

(Emphasis added.)

Based on the Employment Application, the court entered an order authorizing the
Trustee to employ J eff Mishkin and Marcus & Millichap to sell the Property (the
“Employment Order”). The Employment Application and the Employment Order, as

 

2FRBP 2014(a) requires in pertinent part:

The [pr'ofessional employment] application shall be
accompanied by a verified statement of the person to be
em loyed setting forth the person ’s connections with the
de tor, creditors, any other party in interest, their

reis edct)ive attorneys and accountants . . . . (Emphasis

a e .

 

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drafted, only refer to the employment of J eff Mishkin. However, the Second Listing
Agreement is between the Trustee and Marcus & Millichap. Mishkin’s roll was merely
that of an agent for Marcus & Millichap, the entity now seeking an administrative
expense award based on the Employment Order and the Second Listing Agreement.
Mishkin has not asserted a personal claim*or interest in this matter.

On or about March 2, 2005, the Trustee entered into a Purchase Agreement with
the person who is now the Debtor’s president, Alan Degenhardt, wherein Degenhardt
agreed to purchase the Property for $2.5 million cash (the “Degenhardt Sale”). The
Trustee filed a motion to approve the Degenhardt Sale which was set for hearing on June
15, 2005 . However, prior to the hearing, Degenhardt (purportedly) acquired all of the
common stock of the Debtor, set himself up as the Debtor’s managing officer thereby
taking complete control of the Property, and reneged on his personal obligation to
consummate the Degenhardt Sale. Two days before the scheduled hearing, on June 13,
2005, Degenhardt caused the Debtor, through its counsel, to file an application to convert
the case to chapter 11. The Trustee’s motion to approve the Degenhardt Sale was
subsequently dropped from calendar. j

On September 29, 2005, J eff Mishkin filed the Mishkin Claim as “Regional
Manager” of Marcus & Millichap for $125,000, the lost commission from the failed
Degenhardt Sale. The Mishkin Claim was filed as a priority claim under §§ 507(a)(1)
and 503(b) (administrative expenses for the actual, necessary cost of preserving the estate,
including commissions for services rendered after commencement of the case). The
Mishkin Claim included no supporting documentation

Marcus & Millichap filed the Admin. Claim on October 13, 2005. The Admin.
Claim seeks the same $125,000 lost commission as did the Mishkin Claim. The Admin.
Claim alleges that the Debtor “colluded With [Degenhardt] to prevent a closing of the
[Degenhardt Sale] and payment of the co'mmission.” The Admin. Claim also alleges that
Marcus & Millichap “incurred substantial expense and rendered substantial services to

sell the Property, and should be compensated accordingly.”

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1 As an alternative grounds for relief, the Admin. Claim alleges that the Debtor
2 breached the First Listing Agreement and requests an unsecured claim based on its
3 prepetition relationship with the Debtor: '
4 ln further support of the CLAll\/l, [l\/larcus & Millicha ] alle es that DEBTOR '7`
had entered into a Rep_resentation Agreement with [ arcus Millichap] for the
5 sale of the Property prior to the filing of DEBTOR’S bankruptcy case, and that
DEBTOR breached such agreement Thus, to the extent that this CLAIM is not
6 allowed as an administrative expense clainz, it is a general unsecured claiin.
7 (Emphasis in italics added.) 7
8 Attached to the Admin. Claim as supporting documentation are copies of the
9 Second Listing Agreement and the Degenhardt Purchase Agreement. The Admin. Claim
10 was signed by Marcus & Millichap’s counsel under penalty of perjury.
11 The Debtor filed an objection to the Mishkin Claim. Marcus & Millichap
12 responded with a counter-motion to allow the Admin. Claim (the “Counter-Motion”).
13 The Counter-l\/Iotion requests payment of the lost commission from the Second Listing
14 Agreement based, inter alia, on Degenhardt’s maneuver to take control of the Debtor and
15 frustrate the Degenhardt Sale. The basis for the Admin. Claim is stated in the Counter-
16 l\/lotion as: j
17 Creditor seeks allowance and payment of its claim for real estate brokerage
services rendered to this bankruptcy estate, for the estate ’s breach of an exclusive
18 listing anci/oi;ipurchase agreements, for the estate’s breach of the covenant of_ ,,
ood faith an fair d_ealincg, and/or for interference with Creditor’s contract with ‘
19 t e estate (Emphasis ad ed.)
20 Marcus & Millichap contends that it did everything it was required to do under the
21 Second Listing Agreement, including producing a “ready and willing” buyer, and that it 5
22 fully earned its commission. Alternatively, Marcus & Millichap seeks quantum meruit
23 compensation for “substantial and beneficial services rendered to the estate.”
24 The Counter-l\/Iotion is supportedpy a declaration of Douglas Danny, a Senior
25 Investment Associate with Marcus & Millichap, which summarized Marcus &
26 Millichap’s (Creditor’s) prepetition relationship with the Debtor and the extensive effort
27 it put into trying to sell the Property as follows:
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3. In _l\/la of 2004, and prior t_o the date that Debtor filed its Chapter 7 Bankruptcy
case in ecember 2004, Creditor was retained to Sell _Debt_or’s real pro erty
commonly known _as 39700 Road 28, Kingsburg, California (“Property ’) pursuant
to a written_ exclusive representation agreement A true and correct copy of such
a reement is attached hereto as Exhibit 1 and by this reference made a part hereof
(‘ isting Agreement #1”). _Debtor’s Property is a 27.7-acre membership RV park
and resort adjacent to the King’s River.

4. Fra_.nk Ro ers, another broker of Creditor, and I were primarily responsible for
marking an funding buyers for the Property. Frank Ro ers is a so an experienced
commercial real estate broker located in Creditor’s San rancisco office

5. Pur_suant to the Listin A reement #l , the original listing price was $2,500,000.
The Listing Agreement l rther rovided for seller financing. The Debtor did
not inform Creditor that is was in efault on the Propert loan and there was a
potential foreclosure Only after 5 months of fielding o fers did we discover that
the Property was in foreclosure Thus, seller financin was not feasible The
Listing Agreement #1 was extended in writin throug the [sic] November 30,
2004 with a reduced listing price of $2,000,0 0.

6. ln December of 2004, after to [sic] the ex iration of Creditor’s Listing

Agreement #1, the Debtor filed a Chapter '_7 _ankru tcy case Di_ie to the _

foreclosure, pending Trustee sale and possibili o bankruptcy, it Was futile to "* t
continue the marketing of the property for the ebtor.

9. Cred_itor spent extensive time and expense_performing a market analysis,
marketing, and negotiating purchase transactions for the Property. We prepared
an extensive market analysis and a 42 page offering inemorandum.

10. Creditor marketed the Property ag ressivel _ by utilizing broadcast fax (233 ,,
people), broadcast email (approximate 400 c rents), 1000 mailers, l\lational
nternet MLS (Loo Net£, newspa er a s (Wall Street Journal, LA Times, San
Francisco Chronicl§ an Fresno gee , Trade Sliows and Conventions (l\/IHI -
April 2005, WMA - October 2004, eorge Allen NWRT - Se tember 2004). _
Frank Rogers and l presented this property to 43 Marcus & illichap offices with
a total of 000 Brokers via Mnet,7 e internal compan internet system. _
Additionally we called a tar et buyer pool of over 10 0 owners and coo ei'ating
brokers to romote the avai ability of the listing. Mr. Rogers and l fiel ed
numerous uyer and broker calls in the marketing rocess. We also made several
trips to Kingsburg and Fresno to meet with the De tor and/or Trustee and
potential buyers.

13. In addition, Ci'editor incurred actual out-of-pocket costs in marketing the
Property includinq, without limitation, advertising, printing, postage, su plies,
and sta f salai'ies. t would take some effort to recapture these costs fort e Court,
but I believe we could do so if necessary.

14. During the period C.reditor had the listin for the Property, we generated 5
offers for the Property, including the offer o Alan J. Degenhardt. . . .

 

 

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1. Whether entry of the Einployment Order precludes subsequent review of
Marcus & Millichap’s qualifications for employment under Bankruptcy Code § 327(a).

2. Whether Marcus & Millicliap’s Employment Application failed to satisfy tlie
dirty of disclosure required of professional persons under § 327(a) and Rule 2014(a).

3. Whether Marcus & Millichap’s prepetition relationship with the Debtor,
throuin the First Listing Agreement, made Marcus & Millichap not “disinterested” and
therefore disqualified from employment by, and compensation from the estate

4. Whether Marcus & Millichap is entitled to compensation on some State law
theory, such as quantum ineruit.

ANALYSIS.

The Eleovment of a Professional Person Mav Be Reviewed at Anvtime for
Compliance With § 327(2_1)_.

 

Pursuant to 11 U.S.C. § 327(a), a trustee, with the court’s approval, may employ
one or more professional persons, “that do not hold or represent an interest adverse to the
estate, and that are disinterested persons . . . .” (Emphasis added.)3

An order authorizing the employment of a professional person under § 327(a) may
be reviewed by the bankruptcy court at any time Bankruptcy Code § 328(c) expressly
permits the bankruptcy court to revisit the employment of a professional under section
327(a), and to deny compensation for services and reimbursement of expenses, if at any
time during the employment "such professional person is not a disinterested pei'son, or
represents or holds an interest adverse to the interest of the estate with respect to the
matter on which such professional person is employed."

ln the exercise of its own ongoing affirmative responsibility to “root out

impermissible conflicts of interest_” under Bankruptcy Code §_§ 327(a) and 328(c),
the bankruptcy court must determine whether any competing interest of a court-

 

3The definition of a “ erson” under § 101(41) includes an “individual,

aitnersl_iip and corporation.’ There is_no dis ute that Marcus & Millichap is a
‘professional person” within the meaning of §

327(3).

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a pointe_d professional “created either a meanin ful incentive to_act contrary to

t e best interests of the estate and its sundry cre itors--an incentive sufficient to

place those parties at more than acce table risk--or the reasonable perception of

one.” Rome v. Braunstein 19 F.3d 5 , 58 (1St Cir. 1994) citing In re Martin, 817

F.2d 175, 180 (1St Cir. 1987). (Emphasis in original.)

The court retains a continuing supervisory power to revisit areas of potential
conflict and to disqualify a professional if,conflict problems arise or the professional’s
representation otherwise fails to conform;to the disinterestedness standard. Security Bank
of Washington v. Steinberg (In re Westwdod Shake & Shingle, lnc.), 971 F.2d 387, 390
(9th Cir. 1992).

Vlarcus & Millichap’s Emnlovment Apnlication Failed to Satisfv the Dutv of
_Disclosure. 7 , , , , , 7 7

 

A professional seeking to be employed under § 327 has an affirmative diity to
make a complete and candid disclosure of all facts concerning its transactions with the
debtor:

Pursuant to § 327, a professional has a duty to make full, candid and complete
disclosure o all facts concerning his transactions with the debtor. . . .
Professi"onals must disclose all connections with the debtor,_ creditors and parties
in interest, no matter how irrelevant or trivial those connections may seem. . . .
The disclosure rules are not discretionary. . . . The duty to disclose is not vitiated
by negligent or inadvertent omissions. . . . A court may sanction a professional
for disclosure violations regardless of actual harm to the estate Mehdipoz.ir v.
Marcus & Millichap (In re Mehdipour), 202 B.R. 474, 480 (9th Cir. BAP 1996),
(citations omitted), aff‘d, Mehdipour v. Millichap, 139 F.3d 1303 (9th Cir. 1998)

“Coy, or'incomplete disclosures .:.j. are not sufficient . . .” “[T]he duty is one of
complete disclosure of all facts . . .” “The burden is on the person to be employed
to come forward and make full, candid and complete disclosz./re._" . . . The
disclosure rules are applied l_ite_rally, even if t_h_e results a_re sometimes harsh. . . .
Negligent or inadvertent omissions "do not _vitiate the failure to disclose." . . .
Similarly, a disclosure violation may result in sanctions "regardless of actual harm
to the estate" (emphasis in original, citations omitted). Neben & Starrett, Inc. v.
Chartwell Financial Corp. (]n re¢Park-Helena Corp), 63 F.3d 877, 881 9th Cir.
1995), cert. denied, Neben & Starre_tt, Inc. v. _Ch_artwell Financial _Corp. 16 U.S.
1049, 116 S.Ct. 712 81 996)1§discussin§ the principles underlying disclosure

re uirements of § 32 and _ RBP 20_1 but noting that the disclosure requirements
of R_BP 2014 are applied just as strictly.)

Fed.R.Bankr.P. 2014(a) requires disclosure under penalty of perjury of all relevant
facts necessary for the court to determine the applicant's ability to meet the criteria of §

327(a). Specifically, it requires that the application for employment be accompanied by

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a "verified statement of the person to be employed setting forth the person's connections
with the debtor. . . .” Rule 2014(a) is supplemented by Region 17 United States Trustee
Prograin Guidelines, Section 2.1.4., Professional Disclosure, which requires that the
pi'ofessional's verified statement must affirmatively show, inter alia, that the professional
complies with the requirements of 11 U.§C. § 101(14) and 327(a).

The disclosure requirements of Fed.R.Bankr.P. 2014(a), are strictly applied and
impose an independent duty upon the professional applicant.

“Al§facts that_ may _be pertinent to a court's determination of whether [a

pro essional] is disinterested or holds an adverse interest to the estate must be
disclosed.” .. . . _“[ll:r'ofessionals] gannot pick and choose which connections are
irrelevant oi tiivia . . . . Even conflicts moie theoretical than real will be
scrutinized.” . . . Even a negligent or inadvertent failure to disclose fully relevant

information ma result in a denial of all requested fees. In re Park-Helena Corp. ,

63 F.3d at 881- 2 (emphasis in original, citations omitted).

Failure to make disclosure may result in disqualification of a professional person.
lf the lack of disclosure is discovered after employment is approved, it may also result in
denial and disgorgement of compensation In re Hathaway Ranch Partnership, 116 B.R.
208, 220 (Bankr. C.D. Cal. 1990).

Her'e, Marcus & Millichap’s Employment Application failed to disclose, indeed it
included a sworn statement from J eff Mishkin affirmatively disavowing any prior
business dealings or connections with the Debtor. Mishkin was, or should have been,
fully aware of the failed First Listing Agreement, and the potential for a claim against the
Debtor based on the work performed prior to the bankruptcy and the Debtor’s
misrepresentation of its financial condition. Marcus & Millichap had an affirmative duty
to (1) disclose those issues, and (2) get the issues resolved, if possible, before the
employment began. The prepetition events were not called to the court’s attention until
Marcus & Millichap sought approval of its Admin. Claim. By then, it was too late to
satisfy the disclosure requirements of the Code and the Rules. “Absent the spontaneous,
timely and complete disclosure required by section 327(a) and Fed.R.Bankr.P. 2014(a),

court-appointed [professionals] proceed at their own risk.” Ro)ne v. Braunstein., 19 F.3d

at 59. (Emphasis in original.)

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ln reply to the Debtor’s objection and the “disclosure” issue, J eff Mishkin signed
another declaration stating that his statements in support of the Employment Application
were limited to his personal relationship with the Debtor: other brokers worked under the
First Listing Agreement and Mr. Mishkin personally had no prior business relationship or
connections with the Debtor. The court finds this argument to be unpersuasive and
disingenuous. Mr. Mishkin submitted the first Mishkin Declaration on behalf of Marcus
& Millichap, it was submitted to satisfy Marcus & Millichap’s duty of disclosure and Mr.
Mishkin is not the one now seeking the award of an administrative expense

In further reply to the Debtor’s objection, Douglas Danny signed a second
declaration stating that he did disclose the First Listing Agreement to the Trustee and
provided the Trustee with copies of prior offers for the Property and the previous
marketing package The Trustee disavowed any knowledge of these facts in the
Employment Application_, but assuming Mr. Danny’s statements are true, that does not
change the result. Marcus & Millichap’s duty of disclosure ran to the court, not just to
the Trustee ' *" ':'

Marcus & Millichap is no stranger to the disclosure rules prescribed in the
Bankruptcy Code and the Federal Rules of Bankruptcy Procedure. ln Mehdipour, another
real estate case, the bankruptcy court sanctioned Marcus & Millichap for failure to
disclose that its real estate broker, Tony Azzi, had a financial relationship with the buyer
of the property. The court found that Marcus & Millichap “was not completely candid in
its disclosure of Azzi’s connections with the buyers and the terms of the loans Azzi made
to the buyers.” Mehdipour, 202 B.R. at 481.4 In this case, Marcus & Millichap again
failed to satisfy the duty of full and candid disclosure when it applied for employment

under section 327(a). Disqualification from employment and denial of administrative

 

4'l`he court did approve Marcus & Millichap’s em loyment, and the pa ment of a

com_mission, less the sanction, because the _disclo_sure ro lem_s related to the roker,
Azzi._ The _court found that Marcus & Millichap itsel , was “disinterested” and therefore
not disqualified from employment under § 327.

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fees is the proper result.

The l` rst Listing Agreement Macle Marcus & Millichap a Creditor of the Debtor.
and T herefore Not “Disinterested” Within the Meanim_r of § 101(14).

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Section 101(14) defines "disinterested person" as a person who "is not a creditor”
and that "does not have an interest materially adverse to the interest of the estate or of any
class of creditors or equity security holders, by reason of any direct or indirect
relationship to, connection, with or interest in, the debtor . . . or for any other reason.”

Sec_tion 327(a) prohibits the emplo ment of professionals who hold or represent

an interest adverse to the estate an who are not disinterested The_bankr_uptcy
court does not have authority to allow the employment of a professional in

violation of § 327, and the er_nplo _ rent _is void ab initio. . . . The_ ultimate
decision as t_o whether there is a isqualifying conflict or adverse interest lies _
within the discretion of the court. . . . Any professional who the court determines

to hold or represent an interest adverse to the estate or who is not disinterested is

not an officer of the estate during the time of conflict and must be denied

compensation for services erfoirned during the conflict pursuant to § 330.

A/lehdipour, 202 B.R. at 4 (citations omitted).

Section 327(a) prescribes a two-pronged test for the employment of a professional
person - the "adverse interest” test and the "disinterestedness” test, both of which must be
met before a professional person is eligible to be employed. "‘A disinterested professional
is one that can make unbiased decisions, free from personal interest, in any matter
pertaining to the debtor'sestate . . . The purpose of the rule that [the professional] be
disinterested is to assure undivided loyalty to the debtor."' First ./'nterstate Bank of
Nevada, N.A. v. CIC Investment Corporation (In re CIC Investment Corp.), 192 B.R. 549,
553-554 (9th Cir. BAP 1996) (citations omitted).

“Disinterestedness has been defined as possessing or asserting any economic
interest that would tend to lessen the value of a bankruptcy estate or create an actual or
potential dispute in which the estate is a rival claimant.” Halbert v. Yousif(]n re
Florence Tciizizé)'s, ]nc.), 225 B.R. 336, 346 (Bankr. E.D. Mich. 1998).

The record here supports the conclusion that Marcus & Millichap was not
“disinterested” because it was a creditor of the Debtor at the time it applied for

employment A “creditor” is defined in § 101(10) of the Bankruptcy Code as:
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(A entity th_at has a cla_im algainst the debtor that arose at the time of or before the
or er for relief concerning t e debtor.

A “claim” is defined in § 101(5) as:

(A) right to payment, Whether or not such right is reduced to judgment,

liquidated, unliquidated_. fixed, contingent, matured, unmatured, disputed,

undisputed, legal, equitable, secured, or unsecured.

The term “claim” and thus the classification of who is a “creditor,” is broadly
construed. See ln re Jensen, 995 F.2d 925, 928 (9th Cir. 1993). The allowance of a claim
against the Debtor is governed by “applicable law.” Section 502(a) & (b)l) (stating that a
claim is deemed allowed unless a party in interest objects and the claim is determined to ' " ' t
be unenforceable against the debtor or property of the debtor under any agreement or
applicable law for a reason other than because the claim is contingent or unmatured).
l-lowever, federal law determines when a claim arises for purposes of a bankruptcy
proceeding, “a claim is ripe as an allowable claim in a bankruptcy proceeding even if it is
a cause'of action that has not yet accrued.” Cool Fuel Incorporated v. Board of
Equalization of the State of California (In re Cool Fuel, Inc.), 210 F.3d 999, 1006 (9th
Cir. 2000). (Emphasis added.)

A professional holding a potential prepetition claim against a debtor for damages, t
based on any legal theory under applicable law, is a creditor of the estate and therefore
not “disinterested” even if that claim has*not been reduced to a cause of action or
adjudicated against the debtor. Bankruptcy Code sections 327(a), 101(14) and
101(10)(A), “. . . taken together, unambiguously forbid a debtor in possession from
retaining a prepetition creditor to assist it in the execution of its Title ll duties.” United
States Trustee v. Price Waterhouse, 19 F.3d 138, 141 (3d Cir. 1994). The claim must be
waived if the professional is to be employed. In re Princeton Medical Managenzent, Inc.,
249 B.R. 813, 816 (Bankr. M.D. Fla. 2000).

Here, both the Admin. Claim and the Counter-Motion make extensive reference to t " "
the First Listing Agreement and the Debtor’s responsibility for its failure The record

clearly suggests that Marcus & Millichap provided substantial services and incun‘ed

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substantial expenses in performance of the First Listing Agreement. To the extent that
Marcus & Millichap retained any legal right to seek damages against the Debtor based on
former management’s misrepresentation of material facts, breach of contract, the
covenant of good faith and fair dealing, quantum meruit, etc., whether unliquidated,
contingent, disputed, or otherwise, that right to seek compensation constituted a “claim”
against the Debtor. No where does Marcus & Millichap disavow that it had a prepetition
claim against the Debtor and Marcus & Millichap makes no representation that its
“claim” was ever waived. lndeed, Marcus & Millichap requests, as alternative relief in its
Admin. Claim, that it be allowed an unsecured claim for damages based on the totality of
its efforts to sell the Property. As a creditor of the Debtor, Marcus & Millichap was
therefore not “disinterested” within the meaning of § 101 (14) and not qualified for
employment under § 327(a).

The court recognizes, that in appropriate circumstances it has the equitable power
to award fees and/or expenses to a professional whose employment was approved by the
court after full disclosure of all potential conjlicts, whose employment is subsequently
determined to be invalid, and who provided services in reliance upon the employment
order, so long as the services performed were outside of any conflict of interest and the
lack of disinterestedness did not actually interfere with the professional's representation of
the estate ]n re CIC Investment Corp., 192 B.R. at 553-554. Here, there is no evidence in
the record to suggest that Marcus & Millichap’s lack of “disinterestedness” actually
interfered with the service it rendered to the Trustee However, the court does not need to
determine whether those issues affected Marcus & Millichap’s services because the
threshold for the court to exercise that discretion, full disclosure, was notably absent. The
court camiot conclude that Marcus & Millichap provided real estate marketing services in
reasonable reliance on the Employment Order when Marcus & Millichap failed to fully
and candidly disclose critical facts affecting its “disinterestedness.” Marcus & Millichap
was disqualified fi'om employment under'section 327(a), without regard to the quality of

the services it rendered postpetition.

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Marcus & Millichap’s Right to Quantlim Meruit Compensation.

Marcus & Millichap requests alternative relief on a quantum meruit theory for the
value of services it rendered to both the D:ebtor and the Trustee The court has no basis to
question Marcus & Millichap’s competence and diligence, or the value of the work it did
both before and after the bankruptcy was"filed. However, “compensation under § 503
does not allow the professional to side step the requirements of § 327 and § 330-the
professional must still be disinterested and not hold any adverse interests.” Mehdipour,
202 B.R. at 479 (citation omitted). "Compensation to professionals acting on behalf of
the estate must be based on provisions of the [Bankruptcy] Code The Code does not
provide for fee awards based on state law theories such as quantum ineruit." In re Weibel,
Inc., 176 B.R. 20'9, 2127(9th Cir. BAP'199'4). Therefore, this court cannot award
quantum meruit compensation to Marcus & Millichap as an administrative expense under
§ 503.

That is not to say, however, that Marcus & Millichap is without any right to relief
in this case The pleadings filed in this matter give only a small window of what actually
transpired before the bankruptcy was filed, and the court caimot decide in this proceeding
what rights to i'elief, what damages, and what defenses the parties may be able to assert
against each other under State law. Marcus & Millichap acknowledged in its Counter-
l\/lotion that a full review of its claim will require some discovery. That suggests the
possible need for an evidentiary hearing if the parties cannot negotiate a reasonable
resolution of their differences The court has concluded for purposes of this contested
matter that Marcus & Millichap was a “creditor” within the meaning of the Bankruptcy
Code based on prepetition events which appear to be disputed. The list of potential
theories for a claim against the Debtor would necessarily include quantum meruit i'elief.
There is nothing about this decision that precludes Marcus & Millichap from filing an
unsecured claim in this case based on the First Listing Agreement and applicable State
law.

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Conclusion.

Based on the foregoing, the court finds and concludes that Marcus & Millichap
was not “disinterested” within the meaning of § 101(14). Based on the First Listing
Agreement, Marcus & Millichap was a creditor of the Debtor throughout the term of its
employment Marcus & Millichap failed to fully and candidly disclose its prepetition
relationship with the Debtor to the court and failed to get any “disinterested” issues
resolved before its employment began. Accordingly, Marcus & Millichap was not
qualified for employment under § 327(a), its employment was invalid ab initio and its
administrative claim cannot be approved. This ruling is without prejudice to Marcus &
Millichap’s right to file or amend its claim for damages, if any under applicable State law,

based on its prepetition relationship with the Debtor and to participate in this chapter 1 l

W. RicliaFd Lee l
United States Bankruptcy Judge

case as an unsecured creditor.

Dated: March /_S/; 2006

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA

CERTIFICATE OF MAILING

The undersigned deputy clerk in the office of the United
States Bankruptcy Court for the Eastern District of California
hereby certifies that a copy of the document to which this
certificate is attached was mailed today to the following
entities listed at the address shown on the attached list or
shown below.

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DATED: 3//§/0[/ By: (:3/[ lCL\bLCOi/< )

lDep_iity Clerk

EDC 3-070 (New 4/21/00)

 

 

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